                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

KRIS LATCHFORD                 §
                               §
              Plaintiff,       §
                               §
vs.                            §                        CIVIL NO. 5:18-CV-1170-OLG
                               §
AT&T UMBRELLA BENEFIT PLAN NO. §
3,                             §
                               §
        Defendants             §
                               §


               DEFENDANT’S CORPORATE DISCLOSURE STATEMENT


       Pursuant to Federal Rule of Civil Procedure 7.1, the undersigned counsel of record for

AT&T Umbrella Benefit Plan No. 3 certifies that Defendant AT&T Umbrella Benefit Plan No. 3

is an employee welfare benefit plan as defined by the Employee Retirement Income Security Act

of 1974, 29 U.S.C. § 1001 et seq., for which the plan sponsor is AT&T Inc.          The plan

administrator is AT&T Services, Inc., a Delaware corporation, which is jointly owned by AT&T

Inc. (94.6%) and AT&T Teleholdings, Inc. (5.4%). AT&T Teleholdings, Inc., a Delaware

corporation, is a wholly-owned subsidiary of AT&T Inc. AT&T Inc., a Delaware corporation, is

publicly traded on the New York Stock Exchange, and, to the best of its knowledge, no publicly

held corporation owns 10% or more of AT&T Inc.’s stock. These representations are made to

enable to the Court to evaluate possible disqualification or recusal.
Dated February 12, 2019.   Respectfully submitted,



                           /s/ Nicole S. LeFave
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                           ATTORNEYS FOR DEFENDANTS




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has
been forwarded to counsel of record by Court ECF notification, on this the 12th day of February
2018, addressed as follows:

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San Antonio, Texas 78205

                                                   /s/ Nicole S. LeFave
                                                   Nicole S. LeFave




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